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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

   JUAN LOZADA-LEONI,             §
                                  §
         Plaintiff,               §
                                  §
     vs.                          §
                                  §                      Civil Action No. 4:20-cv-68
   MONEYGRAM INTERNATIONAL, INC., §
   and MONEYGRAM PAYMENT          §
   SYSTEMS, INC.,                 §
         Defendants.              §
                                  §
                                  §


            MOTION FOR DISCOVERY DISPUTE TELEPHONE CONFERENCE

           Intervenor Kardell Law Group (“KLG”), by and through its counsel, hereby files this
    Motion and, in support thereof, states as follows:
           Intervenor Kardell Law Group (KLG) seeks a determination of the percentage of
    attorney fees owed to KLG out of a settlement with Defendant MoneyGram on 10-29-2020
    (Dkt. 131).
           Background:
                  1. Plaintiff's current counsel, Hutchison & Stoy, appeared for Plaintiff here in
              June of this year, and the case was settled in October of this year, thus constituting
              roughly four months of legal representation on the part of Hutchison & Stoy.
                  2. In contrast, Plaintiff hired KLG in July of 2017 and KLG withdrew from
              Plaintiff’s representation in April of 2020, thus comprising approximately 2 years
              and nine months of extensive legal representation on this specific case.
                  3. KLG is attempting to settle this matter with Hutchison & Stoy, which
              inexplicably refuses to disclose the amount of settlement and/or the amount of
              attorney fees here.
                  4. This essentially forces KLG into a “blind bet” in the context of settlement
              discussions.

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                 5. Not only does this position prevent any meaningful self-evaluation by KLG
              of the attorney fees claim here, it also prevents meaningful settlement discussions.
                 6. Both parties are also subject to a deadline of 11-27-2020, at which point
              KLG must present its position to this Court as to why it is entitled to a share of the
              attorney fees here. (Dkt. 133).
          Efforts to resolve this matter:
              7. For some reason, Hutchison & Stoy refuses to take phone calls from KLG,
                 insisting on email communication.
              8. The following is today's email traffic over the KLG request to Hutchison &
                 Stoy that they voluntarily disclose the settlement amounts here, or agree to the
                 Court’s expediting this issue:
                     o Thursday, November 19, 2020 8:58 AM
                     o Thursday, November 19, 2020 9:38 AM
                     o Thursday, November 19, 2020 9:45 AM
                     o Thursday, November 19, 2020 11:01 AM
                     o Thursday, November 19, 2020 11:39 AM
                     o Thursday, November 19, 2020 11:51 AM
                     o Thursday, November 19, 2020 11:53 AM
                     o Thursday, November 19, 2020 12:02 PM
              9. At every juncture here, Hutchison & Stoy refused to discuss any reasonable
                 alternative.
          KLG hereby requests that Hutchison & Stoy participate in a discovery dispute
    telephone conference with Judge Craven on _____ at _____.
                                     Respectfully submitted,

                                                   /s/ Steve Kardell
                                                   Steve Kardell
                                                   Texas State Bar No. 11098400
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                                                    Facsimile: (469) 729-9926
                                                    ATTORNEY FOR INTERVENOR

                                    CERTIFICATE OF CONFERENCE

       I conferred with all counsel of record on this motion, on the following dates:

  Hutchison & Stoy               Objects.                                 11-19-2020
  MoneyGram Defendants           No objection, as long as                 11-18-2020
                                 confidentiality is preserved.

                                                    /s/ Steve Kardell

                                    CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document has been submitted, by electronic means, to all
    counsel of record on November 19, 2020.
                                                    /s/ Steve Kardell




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